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                IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:11CR114
                              )
          v.                  )
                              )
JORGE FERNANDEZ-ROUSTAND,     )                       ORDER
                              )
               Defendant.     )
______________________________)


            This matter is before the Court on the motion of

Nichole L. Cavanaugh to withdraw as counsel for defendant (Filing

No. 125).   The Court finds the motion should be granted.

Accordingly,

            IT IS ORDERED that the motion is granted; Nichole L.

Cavanaugh is deemed withdrawn as counsel of record for defendant.

            DATED this 25th day of October, 2011.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
